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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


BRANDON SODERBERG, et al.,

            Plaintiffs,

v.                                            Case No. 1:19-cv-01559-RDB

HON. W. MICHEL PIERSON, et al.,

            Defendants.




            PLAINTIFFS’ MEMORANDUM IN OPPOSITION
              TO DEFENDANTS’ MOTION TO DISMISS




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                                  INTRODUCTION

       Defendants argue at length in their motion that the “First Amendment does not

guarantee a right to broadcast a criminal trial.” ECF No. 23 (MTD) at 2. But Plaintiffs

are not asserting some freestanding right to broadcast criminal trials. Rather, they are

asserting a right to disseminate recordings of criminal proceedings that the State itself

provided to them and that the State itself continues to make publicly available. That right

is hardly novel or controversial. Indeed, the Supreme Court has long recognized—and

repeatedly reaffirmed—that the First Amendment commands “that the States may not

impose sanctions on the publication of truthful information contained in official court

records open to public inspection.” Cox Broadcasting Corp. v. Cohn, 420 U.S. 469, 495

(1975).

       Defendants have not identified any basis for dismissing this case, and many of

the theories they do offer conflict with their own recent actions. They argue, for

instance, that the statute Plaintiffs seek to challenge is “moribund,” MTD 10, but they

have threatened multiple journalists under the statute over the past few months, see

MTD Exs. 3 & 4. They argue that disseminating recordings of court proceedings would

harm the privacy interests of criminal defendants, MTD 16-17, but they themselves

continue to make those same recordings available to the public. And they argue that

the challenged statute prohibits a clear and “identifiable core” of conduct, MTD 29, but

they refuse to say whether that “identifiable core” includes Plaintiffs’ intended speech—

or even how Plaintiffs might find out if their speech is prohibited.

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       Even setting aside these internal contradictions, Defendants’ motion also misses

its mark as a legal matter. As explained below, Plaintiffs have standing to bring this suit

and they have stated valid claims under both the First Amendment and the Due Process

Clause. Defendants’ motion should therefore be denied.

                                   BACKGROUND

       A.    The Public’s Right of Access to Maryland Trial-Court Recordings

       Many Maryland trial courts electronically record all proceedings that occur before

a judge. ECF No. 1 (Compl.) at ¶ 9. Some jurisdictions, like Baltimore City, maintain

both video and audio recordings of their proceedings, while others, like Prince George’s

County, maintain only audio recordings. Id. ¶¶ 9, 11. In every jurisdiction, however,

members of the public have a qualified right of access to the recordings.

       The contours of that right are set forth in court rules adopted by the State’s

judiciary. See Compl. ¶¶ 9-12. Those rules require trial courts to allow “any person” to

view and listen to audio and video recordings at the courthouse. See Md. Rule 16-504(i)

(“Right to Listen to and View Audio-video Recording”). And, as relevant here, the

rules also require trial courts to “make a copy” of the audio recording, in virtually any

case, “available to any person upon written request.” Md. Rule 16-504(h) (“Right to

Obtain Copy of Audio Recording”).

       Trial courts retain authority under the rules to redact certain portions of court

recordings before the recordings are released to the public. Specifically, if a court finds

that certain portions of a recording “should and lawfully may be shielded from public

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access and inspection, the court shall direct that appropriate safeguards be placed on

that portion of the recording.” Md. Rule 16-504(g).

      B.     Maryland’s Ban on Broadcasting Criminal Matters

      Despite the court rules mandating public access to court recordings, Maryland

law imposes limits on what the public may do with those recordings. Specifically,

Maryland Code of Criminal Procedure § 1-201 makes it unlawful to “broadcast any

criminal matter . . . that is held in trial court.” Md. Code, Crim. Proc. § 1-201 (a)(1).

Those who violate the statute may be held in contempt, id. § 1-201(c), and subjected to

“a full range of sanctions, including incarceration,” MTD 33. Maryland officials

construe § 1-201 to cover not only broadcasts of live court proceedings but also

broadcasts of court recordings that the State itself has made available to the public. See

Compl. ¶ 26; MTD 30.

      C.     Plaintiffs’ Inability To Publish or Disseminate Court Recordings

      Plaintiffs are a group of journalists and community organizations who seek to

publish and disseminate recordings of Maryland criminal proceedings as part of their

reporting, advocacy, and community-education efforts. They have refrained from

doing so, however, because they fear being sanctioned under § 1-201.

      Plaintiffs Brandon Soderberg and Baynard Woods are Baltimore-based

journalists who are currently working on a book and a documentary film about the

Baltimore Police Department’s Gun Trace Task Force. Compl. ¶ 21. In recent years,

the Baltimore City Court Reporter’s office has provided these Plaintiffs with copies of

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several audio recordings, as well as one video recording, of local court proceedings. Id.

Mr. Soderberg and Mr. Woods “intend to use these recordings in their documentary

film, among other reporting projects.” Id.

      Plaintiffs Open Justice Baltimore (OJB) and Baltimore Action Legal Team

(BALT) are organizations that support community-centered efforts to improve the

criminal-justice system, including by enhancing its transparency. Compl. ¶ 22. OJB

and BALT have both lawfully obtained audio recordings of local court proceedings

from the Baltimore City Court Reporter’s office. Id. They intend to use these

recordings in their efforts to educate the public about Baltimore’s legal system. In

particular, OJB and BALT “plan to post the recordings online, play them at community

events (including know-your-rights events for community members and legal training

for volunteer lawyers), share them on social media, and potentially include them on

podcasts.” Id.

      Plaintiff Qiana Johnson is a community organizer in Prince George’s County and

the founder of Plaintiff Life After Release, an organization that seeks to empower

people and communities affected by the criminal-justice system. Compl. ¶ 23. Life

After Release coordinates a court-watching program aimed at promoting accountability

within Prince George’s County’s judicial system. Id. The organization also supports

people facing criminal charges by helping their family and community members remain

informed and involved in the adjudicative process. Id. Ms. Johnson and Life After

Release have lawfully obtained audio recordings of local court proceedings from the

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Prince George’s County Office of Court Reporters. Id. The recordings come from

proceedings in which Ms. Johnson was invited to address the court on behalf of criminal

defendants who asked her to advocate for them. Id. Ms. Johnson and Life After Release

“plan to post the recordings on their websites and play them at meetings in order to

highlight the impact of their participatory-defense work and teach others how to

become effective community advocates.” Id.

      On May 2, 2019, Mr. Soderberg, Mr. Woods, OJB, and BALT (the Baltimore

Plaintiffs) submitted letters to Baltimore City’s administrative judge, Defendant W.

Michel Pierson, to notify him of their plans to disseminate the recordings in their

possession. See Compl., Ex. A (Letter from B. Soderberg & B. Woods); Compl., Ex. B

(Letter from OJB & BALT). In the letters, the Baltimore Plaintiffs asked if Judge

Pierson knew of any harms that might result from the dissemination of the recordings,

noting that they would consider his views before acting on their plans. The Baltimore

Plaintiffs also sought clarity as to whether their intended uses of the recordings—such

as sharing the recordings on social media—would constitute “broadcasting” under

§ 1-201. Court officials never responded to either letter, or to a follow-up email from

Plaintiffs’ counsel three weeks later. Compl. ¶ 29.

      On May 14, 2019, Ms. Johnson and Life After Release (the Prince George’s

County Plaintiffs) submitted a similar letter to the administrative judge for Prince

George’s County, Defendant Sheila R. Tillerson Adams. See Compl., Ex. C (Letter from

Q. Johnson & Life After Release). Like Judge Pierson, Judge Tillerson Adams never

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responded to the letter from the Prince George’s County Plaintiffs, or to a follow-up

inquiry one week later. Compl. ¶ 31.

        Defendants’ failure to respond to Plaintiffs’ repeated inquiries has left Plaintiffs

in the dark as to whether (and, if so, how) they may disseminate the various court

recordings in their possession. On May 28, 2019, Plaintiffs filed this action to obtain

answers to those questions. Their complaint asserts that § 1-201 violates the First

Amendment and is unconstitutionally vague. They seek a declaratory judgment that

§ 1-201 is unconstitutional, at least insofar as it prohibits Plaintiffs from disseminating

court recordings that they lawfully acquired from their local courthouses.

                                 LEGAL STANDARD

        Defendants’ opening brief sets forth the proper legal standards for evaluating

motions to dismiss under Federal Rules of Civil Procedure 12(b)(1), (6), and (7).

                                      ARGUMENT

   I.      Plaintiffs have standing to seek pre-enforcement review of § 1-201.

        To establish Article III standing, a “plaintiff must have (1) suffered an injury in

fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that

is likely to be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 136 S.

Ct. 1540, 1547 (2016). Here, Defendants contend that Plaintiffs lack standing because

they “have not been injured by the presence of § 1-201 in the Criminal Procedure

Article.” MTD 8. As explained below, that argument lacks merit.



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       A.    Section 1-201 has had a severe chilling effect on Plaintiffs’ speech.

       A plaintiff seeking purely prospective relief “must establish an ongoing or future

injury in fact.” Kenny v. Wilson, 885 F.3d 280, 287 (4th Cir. 2018). This requirement is

“commonly satisfied by a sufficient showing of self-censorship, which occurs when a

claimant is chilled from exercising his right to free expression.” Id. at 289 n.3 (quoting

Cooksey v. Futrell, 721 F.3d 226, 235 (4th Cir. 2013)). “Government action will be

sufficiently chilling when it is ‘likely [to] deter a person of ordinary firmness from the

exercise of First Amendment rights.’ ” Benham v. City of Charlotte, 635 F.3d 129, 135 (4th

Cir. 2011) (citation omitted).

       Here, Plaintiffs have censored themselves by refraining from publishing or

disseminating publicly available recordings of court proceedings out of a fear of

contempt sanctions under § 1-201. See Compl. ¶¶ 20-26 (describing the “severe chilling

effect on Plaintiffs’ protected speech and reporting activities”). Defendants do not

deny that the act of disseminating those recordings (all of which were acquired lawfully)

would constitute expressive activity. Instead, they argue that any chilling effect § 1-201

might have on Plaintiffs’ expression is “subjective” in nature and, therefore, insufficient

to confer standing. See MTD 9 (citing Laird v. Tatum, 408 U.S. 75, 89 (1972)).

       That argument is unavailing. The chilling effect Plaintiffs have identified is an

objectively reasonable—and entirely foreseeable—response to Defendants’ actions. See

Cooksey, 721 F.3d at 235 (“Any chilling effect must be objectively reasonable.” (citation

omitted)). In recent years, Defendants have repeatedly threatened to hold journalists

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in contempt under § 1-201, including twice in the past five months alone. See Compl.

¶ 26. Those threats were expressly designed to deter the very speech activities that

Plaintiffs seek to pursue here: the publication and dissemination of publicly available

court recordings. Plaintiffs’ self-censorship, then, is not an unexpected overreaction to

Defendants’ threats—it is precisely the outcome Defendants themselves intended.

      In addition to threatening journalists, Defendants have also used § 1-201 in other

ways to deter people from disseminating court recordings. For example, they highlight

the statute in bold lettering on the official forms that they require members of the public

to submit when requesting copies of court recordings. See, e.g., MTD Ex. 4, at 3 (“By

my signature, I acknowledge that Maryland Criminal Procedure Article 1-201 provides

that a person may not broadcast any proceeding in a criminal matter.”).1 Defendants’

representatives have also made numerous public statements over the years, including in

official reports, reaffirming their commitment to preventing the dissemination of court

recordings.2 In fact, the State Judiciary’s handbook for journalists—which was re-

issued this summer—explicitly states that § 1-201 “prohibits the recording or

broadcasting of criminal proceedings.”          MD. COURTS, JOURNALIST’S GUIDE          TO



      1
          See also OFFICE OF COURT REPORTERS, PRINCE GEORGE’S COUNTY, CD
ORDER FORM, https://perma.cc/2VSC-KFAM (“ANY/ALL DUPLICATION
AND/OR BROADCAST IS STRICTLY PROHIBITED.”).
       2
           See, e.g., REPORT OF THE COMMITTEE TO STUDY EXTENDED MEDIA
COVERAGE OF CRIMINAL TRIAL PROCEEDINGS IN MARYLAND 2 (2008) (“2008
JUDICIARY REPORT ON MEDIA COVERAGE”) (recommending “that the Maryland
Judiciary oppose any revision to Md. Code Ann., Crim. Proc. § 1-201”), available at
https://perma.cc/L9ZL-S5H3.

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MARYLAND’S LEGAL SYSTEM 20 (3d ed. 2019), https://online.flippingbook.com/

view/691761/20/.

       Given Defendants’ actions and public statements, Plaintiffs’ self-censorship is

plainly reasonable.     Indeed, most Maryland-based news outlets have censored

themselves in exactly the same way, cognizant of the threat § 1-201 poses to their

reporting efforts. See, e.g., Heather Cobun, Transcript: Tyrique Hudson’s Peace Order Hearing,

MD. DAILY RECORD, May 1, 2019 (reprinting a transcript of a court proceeding while

noting that Maryland law “prohibit[s] copying or transmitting the recording of a

proceeding and a willful violation is punishable as contempt of court” (emphasis

added)). This widespread reluctance to publish recordings of court proceedings is not

some incidental side effect of § 1-201’s enactment; rather, as Defendants themselves

acknowledge, it was the statute’s objective from the beginning. See MTD 1 (“For 38

years, Criminal Procedure § 1-201 has thus limited the way the public and the press publicly

convey information about criminal trials.” (emphasis added)).

       B.     Plaintiffs face a credible threat of prosecution under § 1-201.

       The chilling effect that Plaintiffs have identified is sufficient, on its own, to

confer standing here. But even if it were not, Plaintiffs would still have standing to

challenge § 1-201 for another reason: namely, because they face a credible threat of

prosecution under the statute.

       A plaintiff can satisfy Article III standing—even absent a showing of chilling

effects—if he or she “allege[s] ‘an intention to engage in a course of conduct arguably

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affected with a constitutional interest, but proscribed by a statute, and there exists a

credible threat of prosecution thereunder.’ ” Kenny, 885 F.3d at 288 (quoting Babbitt v.

Farm Workers Nat’l Union, 442 U.S. 289, 298 (1979)). Here, Defendants do not dispute

that Plaintiffs intend to engage in “a course of conduct arguably affected with a

constitutional interest” (i.e., publishing and disseminating publicly available court

recordings). See Compl. ¶¶ 20-24. Nor do they dispute that at least some of that

conduct is “proscribed” by § 1-201. Compl. ¶¶ 14-15. Defendants’ argument turns

solely on whether Plaintiffs face “a credible threat of prosecution.” See MTD 9-11.

       Plaintiffs unquestionably face such a threat here. As the Fourth Circuit has

explained, a credible threat of prosecution “exists so long as it ‘is not imaginary or

wholly speculative, chimerical, or wholly conjectural.’ ” Davison v. Randall, 912 F.3d 666,

678 (4th Cir. 2019) (citation omitted). The “[t]hreat of prosecution is especially credible

when defendants have not ‘disavowed enforcement’ if plaintiffs engage in similar

conduct in the future.” Id. (citation omitted). Here, Defendants have not only refused

to disavow future enforcement of § 1-201 (despite multiple opportunities to do so)—

they have actively threatened to enforce the statute against multiple people. Moreover,

Defendants continue to invoke § 1-201 in other ways, including on official court forms,

to stop people from publishing or disseminating publicly available court recordings. See

supra Part I.A (recounting Defendants’ efforts to deter such activity). These actions

make clear that the threat Plaintiffs face “is not imaginary or wholly speculative,

chimerical, or wholly conjectural.” 912 F.3d at 678 (citation omitted).

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       That threat is especially credible in light of § 1-201’s text which, on its face,

prohibits some of the activities Plaintiffs seek to pursue.            Indeed, “there is a

presumption that a ‘non-moribund statute that facially restricts expressive activity by

the class to which the plaintiff belongs presents . . . a credible threat [of prosecution].’ ”

Kenny, 885 F.3d at 288 (quoting N.C. Right to Life, Inc. v. Bartlett, 168 F.3d 705, 710 (4th

Cir. 1999)).

       Defendants seek to evade this presumption by arguing that § 1-201 is

“moribund.” See MTD 10-11. But that argument clashes with the actions of Maryland’s

legislators, judges, and lawyers, all of whom continue to treat the statute as good law.

Over the past decade, Maryland lawmakers have introduced numerous proposals to

amend § 1-201 to permit the broadcast of certain criminal proceedings. See, e.g., 2019

Md. H.B. 853, https://perma.cc/2TZT-R5YQ (proposing “an exception to the

prohibition against broadcasting a criminal proceeding”). All of those proposals would

have been unnecessary if § 1-201 were in fact moribund. Similarly, the Maryland

Judiciary recently adopted a new rule that refers explicitly to § 1-201—a reference that

would make little sense if the statute were a dead letter. See Md. Rule 16-605 (allowing

media coverage of court proceedings except where “prohibited by Code, Criminal

Procedure Article, § 1-201”). And Maryland lawyers and legal commentators continue,

uniformly, to characterize § 1-201 as enforceable law.3


       3
        See, e.g., 21 MD. LEGAL ENCYCLOPEDIA: TELECOMMUNICATIONS § 33 (June
2019 ed.) (discussing the ban on “[b]roadcasting criminal matters”).

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       Defendants’ own conduct confirms that § 1-201 still has the force of law. After

all, if the statute were truly moribund, then their repeated threats to enforce it against

journalists would have been an exercise in futility. So, too, would their citations to the

statute on official court forms and in recent court filings. Just last month, Defendants

Pierson and Trikeriotis cited § 1-201 in a brief defending their newly imposed

restrictions on the public’s access to Baltimore City Circuit Court recordings. See Barron

v. Trikeriotis, No. 24C-19-2626, Mot. Dismiss at 11 n.4 (Baltimore City Cir. Ct. Jul. 1,

2019) (arguing that the new restrictions “comport[ ] with the statutory provision

prohibiting the broadcasting of criminal proceedings” and citing § 1-201). That citation

would serve no purpose if § 1-201 were moribund; if anything, it would undermine

Defendants’ argument.

       In any event, Plaintiffs need not wait to be prosecuted under § 1-201 before

challenging its constitutionality. The Supreme Court has repeatedly held that plaintiffs

may challenge the constitutionality of statutes that have not yet been enforced. See, e.g.,

Babbitt v. United Farm Workers Nat’l Union, 442 U.S. 289, 299-303 (1979) (holding that a

farmworkers union had standing to challenge the constitutionality of a criminal statute

that “ha[d] not yet been applied and may never be applied” against the union or its

members).4 Those cases make clear that plaintiffs can establish a credible threat of


       4
         See also Virginia v. American Booksellers Ass’n, 484 U.S. 383, 393 (1988) (permitting
a challenge to a criminal statute that had yet to be enforced because “[t]he State has not
suggested that the newly enacted law will not be enforced, and we see no reason to
assume otherwise”); Steffel v. Thompson, 415 U.S. 452, 459 (1974) (“[I]t is not necessary

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prosecution under a given law, even absent “an actual arrest, prosecution, or other

enforcement action” against them. Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158

(2014) (noting that such enforcement is “not a prerequisite to challenging the law”).

       C.      There is no basis for applying the prudential standing doctrine.

       Defendants contend that, even if Plaintiffs establish Article III standing, this case

should be dismissed under the “prudential standing” doctrine. MTD 12-14. That

argument “is in some tension with [the Supreme Court’s] recent reaffirmation of the

principle that ‘a federal court’s obligation to hear and decide’ cases within its jurisdiction

‘is virtually unflagging.’ ” Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118,

126 (2014) (internal quotation marks and citation omitted). More importantly, however,

the argument fails on its own terms.

       For instance, Defendants’ claim that Plaintiffs are trying to assert the rights of

other people is simply wrong. See MTD 12. As noted, Plaintiffs are asserting their own

rights to disseminate recordings in their own possession. Compl. ¶¶ 20-25. And even

if Plaintiffs were seeking to assert other people’s rights, that still would not provide a

“prudential” basis for dismissal in a First Amendment case. See American Booksellers, 484

U.S. at 392-93 (“[I]n the First Amendment context, ‘[l]itigants . . . are permitted to

challenge a statute not because their own rights of free expression are violated, but

because of a judicial prediction or assumption that the statute’s very existence may cause


that petitioner first expose himself to actual arrest or prosecution to be entitled to
challenge a statute that he claims deters the exercise of his constitutional rights.”).

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others not before the court to refrain from constitutionally protected speech or

expression.’ ” (citations omitted; alterations in original)).

         Defendants’ purported federalism concerns also fall flat. Although Defendants

suggest that this case belongs in state court, MTD 13, they do not explain why a state

court would be better equipped to decide the federal constitutional questions at the heart

of this case. See Steffel v. Thompson, 415 U.S. 452, 475 n.22 (1974) (“Since we do not

require petitioner first to seek vindication of his federal rights in a state declaratory

judgment action, consideration of abstention by the District Court would be

inappropriate unless the action . . . could be shown to present a substantial and

immediate possibility of obviating petitioner’s federal claim by a decision on state law

grounds.” (emphasis added; citations omitted)). Nor do they acknowledge that state-

court litigation would pose unique challenges here. After all, state judges not only help

to enforce § 1-201 but also actively lobby against every legislative attempt to repeal or

amend the statute. Only a decade ago, a committee of state judges “recommend[ed]

that the Maryland Judiciary oppose any revision to [§ 1-201],” noting that the “Judiciary

[had] opposed the prior bills [to amend the statute], in principle and as written.” 2008

JUDICIARY REPORT ON MEDIA COVERAGE 2, 12. That documented hostility toward

Plaintiffs’ position casts further doubt on Defendants’ federalism arguments.

   II.      Plaintiffs have stated a valid First Amendment claim.

         Defendants contend that Plaintiffs are asserting a “constitutional right to

broadcast the faces and voices of [litigants], witnesses, victims, judges, or jurors who

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participate in a criminal trial.” MTD 17. But the right Plaintiffs have asserted is, in fact,

much more modest. Specifically, Plaintiffs assert a right to publish and disseminate

recordings of court proceedings that Defendants themselves have made available to the

public. And that right—unlike the right Defendants attack in their motion—is plainly

protected by the First Amendment.

       A.     The First Amendment protects the right to disseminate truthful
              information contained in publicly available court records.

       “As a general matter, ‘state action to punish the publication of truthful

information seldom can satisfy constitutional standards.’ ” Bartnicki v. Vopper, 532 U.S.

514, 527 (2001) (citation omitted). The Supreme Court distilled this longstanding First

Amendment principle into a simple test in Smith v. Daily Mail Publishing Co., 443 U.S. 97

(1979). Under that test, if a member of the press or the public “lawfully obtains truthful

information about a matter of public significance then state officials may not

constitutionally punish publication of the information, absent a need to further a state

interest of the highest order.” Id. at 103.

       The Court applies this test in cases like the present one, where the government

seeks to prevent the dissemination of information contained in publicly available

sources. For instance, in Florida Star v. B.J.F., 491 U.S. 524 (1989), the Court considered

whether a newspaper could be held liable in tort for publishing the name of a sexual-

assault victim whose identity the newspaper had learned from a publicly available police

report. Id. at 527. Relying on Daily Mail, the Court held that the First Amendment


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shielded the newspaper from liability because it had obtained the victim’s name lawfully

and no “state interest of the highest order” justified the statute’s ban on publication.

Id. at 541.

       In reaching that conclusion, the Court identified “three separate considerations”

that supported the Daily Mail rule. 491 U.S. at 533. First, the Court noted, “because

the Daily Mail formulation only protects the publication of information which [was]

‘lawfully obtain[ed],’ the government retains ample means of safeguarding significant

interests upon which publication may impinge.” Id. at 534. In other words, “a less

drastic means than punishing truthful publication almost always exists for guarding

against the dissemination of private facts.” Id. Second, the Court observed, “punishing

the press for its dissemination of information which is already publicly available is relatively

unlikely to advance the interests in the service of which the State seeks to act.” Id. at

535 (emphasis added). Thus, “where the government has made certain information

publicly available, it is highly anomalous to sanction persons other than the source of

its release.” Id. Finally, the Court noted, punishing the media “for publishing certain

truthful information” would likely cause “timidity and self-censorship” among the

press. Id. (citation and quotation marks omitted). Taken together, the Court concluded,

these considerations mandated robust protections for the dissemination of lawfully

acquired, truthful information.

       Those protections apply with special force to the information Plaintiffs seek to

disseminate here because the information comes directly from courthouse records. In

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Florida Star, the Court repeatedly noted that the Daily Mail principle applied most clearly

to information “obtained from courthouse records . . . open to public inspection.” 491

U.S. at 532. Those records, after all, “by their very nature are of interest to those

concerned with the administration of government, and a public benefit is performed by

the reporting of the true contents of the records by the media.” Cox Broadcasting Corp.

v. Cohn, 420 U.S. 469, 492 (1975); see also Florida Star, 491 U.S. at 532 (noting “the

important role the press plays in subjecting trials to public scrutiny and thereby helping

guarantee their fairness”). For that reason, the Court has expressly held that the First

Amendment “command[s] nothing less than that the States may not impose sanctions

on the publication of truthful information contained in official court records open to

public inspection.” Cox Broadcasting, 420 U.S. at 495; see also Craig v. Harney, 331 U.S.

367, 374 (1947) (“If a transcript of the court proceedings had been published, we

suppose none would claim that the judge could punish the publisher for contempt.”).

       Here, Plaintiffs purchased copies of courtroom recordings from their local

courthouses under procedures set forth in Maryland law. Compl. ¶¶ 10-11, 21-23. All

of the recordings depict proceedings that occurred in open court, and copies of the

same recordings remain available for public viewing and listening (and, in some cases,

for purchase) at the courthouses where Plaintiffs obtained them. Compl. ¶ 20; Md.

Rule 16-504(i). The recordings thus constitute “official court records open to public

inspection,” and Plaintiffs’ efforts to disseminate them cannot be restricted absent “a

state interest of the highest order.” Florida Star, 491 U.S. at 541.

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       B.     Defendants have not identified a “state interest of the highest order”
              to justify § 1-201’s blanket ban on broadcasting publicly available
              court recordings.

       The only justification that Defendants have offered for § 1-201’s “broadcasting”

ban is the state’s need to “protect[ ] the due process interests of criminal defendants in

a fair trial.” MTD 19. That justification, however, does not constitute a “state interest

of the highest order.” Indeed, the Supreme Court has made clear that trial-fairness

concerns will rarely, if ever, justify restrictions on the dissemination of truthful

information about criminal cases.

       For instance, in Nebraska Press Association v. Stuart, 427 U.S. 539 (1976), the Court

explicitly rejected the argument that a criminal defendant’s due-process rights justified

a pretrial order barring the press from “publishing or broadcasting” information about

evidence disclosed at pretrial hearings. See id. at 541, 570. Although the Court

acknowledged the importance of safeguarding the defendant’s right to a fair trial, it held

that “prohibiting reporting or commentary on judicial proceedings held in public” was

“clearly invalid.” Id. at 570.

       Similarly, in Oklahoma Publishing Co. v. District Court, 430 U.S. 308 (1977) (per

curiam), the Court held that a state trial judge could not prohibit the press from

publishing the name and photograph of a juvenile defendant whose trial had occurred

in open court. The Court did not dispute that the state had an interest in protecting the

juvenile’s identity, and it even acknowledged that state law favored closed trials for

juvenile cases. See id. at 309-10. Nevertheless, because the judge had declined to close

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the courtroom during the trial, the Court concluded, the First Amendment did “not

permit a state court to prohibit the publication of widely disseminated information

obtained at court proceedings which were in fact open to the public.” Id. at 310.

       The outcomes of these cases are not surprising. After all, the notion that public

scrutiny of the judicial process would undermine—rather than enhance—the fairness of

criminal trials inverts the very constitutional interests that Daily Mail and its progeny

protect. As noted above, one of the main reasons the government cannot prohibit the

press from publishing information contained in court records is because of “the

important role the press plays in subjecting trials to public scrutiny and thereby helping

guarantee their fairness.” Florida Star, 491 U.S. at 532 (emphasis added); see also Cox

Broad., 420 U.S. at 495 (“With respect to judicial proceedings in particular, the function

of the press serves to guarantee the fairness of trials and to bring to bear the beneficial

effects of public scrutiny upon the administration of justice.”). The Constitution itself

recognizes as much by guaranteeing the “right to a . . . public trial.” U.S. Const. amend.

VI (emphasis added). Defendants’ contention that § 1-201 is needed to ensure fair

criminal trials, therefore, gets the logic of the Daily Mail principle exactly backwards.

       C.     Section 1-201 is not narrowly tailored to achieve Defendants’ stated
              objectives.

       Even if fair-trial concerns might justify a temporary ban on disseminating a specific

court recording, they cannot justify § 1-201’s permanent ban on disseminating court

recordings in all criminal cases. Florida Star made clear that any restriction on the


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dissemination of lawfully obtained, truthful information must be “narrowly tailored to a

state interest of the highest order.” 491 U.S. at 541 (emphasis added). By definition, a

blanket ban on disseminating recordings from any criminal “trial, hearing, motion, or

argument” cannot be narrowly tailored—particularly when the government itself has

already made those recordings available to the public.

       The Supreme Court has repeatedly recognized that “punishing the press for its

dissemination of information which is already publicly available is relatively unlikely to

advance the interests in the service of which the State seeks to act.” Florida Star, 491

U.S. at 535; see also Nebraska Press Ass’n, 427 U.S. at 562 (noting that the trial court had

other “alternatives” to barring publication of information about pretrial proceedings,

to ensure trial fairness). The Court employed that logic in Cox Broadcasting, for example,

when it held that a television station could not be held liable for disclosing a rape

victim’s name in a broadcast because the victim’s identity had already been revealed in

court records. 420 U.S. at 495-96. The Court reasoned, “[b]y placing the information

in the public domain on official court records, the State must be presumed to have

concluded that the public interest was thereby being served.” Id. at 496; see also id.

(“Once true information is disclosed in public court documents open to public

inspection, the press cannot be sanctioned for publishing it.”).

       This rule applies even when the government’s disclosure of information is

inadvertent and even when the information is highly sensitive. In Ostergren v. Cucinelli,

615 F.3d 263 (4th Cir. 2010), the Fourth Circuit held that the plaintiff could not be

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punished for posting property records containing the social security numbers (SSNs) of

thousands of Virginia residents on her website because she had obtained the records

from various county clerks’ websites. The court explained that “Virginia’s failure to

redact SSNs before placing land records online means that barring [the plaintiff]’s

protected speech would not be narrowly tailored to Virginia’s interest in protecting

individual privacy.” Id. at 286-87. Thus, the court concluded, “[u]nder Cox Broadcasting

and its progeny, the First Amendment does not allow Virginia to punish [the plaintiff]

for posting its land records online without redacting SSNs when numerous clerks are

doing precisely that.” Id. at 286.

       As it happens, Maryland law already provides a more narrowly tailored means of

ensuring that sensitive information contained in specific court recordings is not widely

disseminated. As noted, the same court rule that gives the public a right of access to

recordings also contains a provision expressly authorizing judges to redact sensitive

portions of those recordings in individual cases. See Md. Rule 16-504(g). That provision

illustrates why § 1-201’s sweeping breadth is not necessary to achieve Defendants’

stated goal of ensuring fair trials. Cf. Matter of Search Warrant Application, 923 F.2d 324,

329 (4th Cir. 1991) (“The reason that fair trials can coexist with media coverage is

because there are ways to minimize prejudice to defendants without withholding

information from public view.”). And the fact that numerous other jurisdictions around

the country also make court recordings publicly available—without blanket restrictions

on how the public may use them—further suggests that § 1-201 reaches more broadly

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than necessary.5

       At the same time, § 1-201 is also too narrow to achieve Defendants’ stated goals.

For instance, the statute does not prohibit the broadcast of criminal appellate

proceedings, even though those proceedings involve the same subject matter and

litigants as criminal trial-court proceedings. Nor does the statute prohibit the broadcast

of civil proceedings, like habeas corpus cases, which may also involve the same subject

matter. See Grandison v. State, 425 Md. 34, 55 (2012) (noting that “[p]ostconviction relief”

is “considered to be civil in nature” (citation omitted)). In fact, Maryland law expressly

authorizes civil proceedings to be broadcast, Md. Rule 16-603, and Maryland’s highest

court recently live-streamed its proceedings in State v. Syed, 463 Md. 60 (2019), a high-

profile case revolving around the details of a murder trial. In short, the under-

inclusiveness of § 1-201’s broadcasting ban shows that it is not “narrowly tailored.”

       Defendants argue that § 1-201 need not be perfectly tailored to achieve its goals

because the statute is “content-neutral.” MTD 22-23. But the Daily Mail rule—and its

narrow-tailoring requirement—apply here regardless of whether § 1-201 is content-

neutral. The Supreme Court’s decision in Bartnicki v. Vopper, 532 U.S. 514 (2001),

illustrates this point well. There, the Court considered a challenge to a provision of the



       5
          See, e.g., PUBLIC ACCESS TO COURT ELECTRONIC RECORDS, DIGITAL AUDIO
RECORDING PROJECT (last accessed Aug. 1, 2019), https://perma.cc/7L2J-K2YW
(identifying dozens of federal district courts that make audio recordings of all court
proceedings available through PACER). Many states also make recordings of trial-
court proceedings available to the public.

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federal wiretap statute that prohibits people from disclosing communications that they

know were intercepted illegally. See id. at 523-24. The Court acknowledged that the

provision was content-neutral, see id. at 526, but nevertheless held the provision

unconstitutional under Daily Mail, see id. at 527-35; see also id. at 544-45 (Rehnquist, C.J.,

dissenting) (arguing that the majority should have applied intermediate scrutiny, rather

than the stricter Daily Mail standard, because the statute was content-neutral).

       In any event, Defendants’ characterization of § 1-201 as “content-neutral” is

incorrect. The statute, on its face, applies only to the broadcast of “criminal matter[s] . . .

held in trial court or before a grand jury.” Md. Code, Crim. Pro. § 1-201 (a)(1)

(emphasis added). To know whether a given broadcast is proscribed, one must view or

listen to the broadcast to determine whether (1) it depicts an actual Maryland court

proceeding (as opposed to a reenactment or some other type of proceeding); (2) the

proceeding occurred before a trial court or grand jury (as opposed to an appellate court);

and (3) the proceeding occurred in a criminal matter (as opposed to a civil matter). In

short, the applicability of § 1-201—by its own terms—necessarily turns on the content

of the broadcast. See Reed v. Town of Gilbert, 135 S. Ct. 2218, 2227 (2015) (explaining that

“regulation of speech is content based if a law applies to particular speech because of

the topic discussed” or “subject matter” targeted).

       D.     Defendants’ remaining arguments are unavailing.

       Defendants contend that § 1-201 “does not prohibit ‘the publication of truthful

information,’ because the plaintiffs remain free to publish the same information in

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another form.” MTD 24. That argument fails for two reasons.

       First, the Daily Mail framework applies no matter what method of information-

dissemination the government seeks to restrict. As the case law demonstrates, the same

principles govern regardless of whether the speaker hopes to publish a photograph in

the newspaper (as in Oklahoma Publishing Company), broadcast an audio recording over

the radio (as in Bartnicki), televise a newscast (as in Cox Broadcasting), or post copies of

public records on the internet (as in Ostergren).        The First Amendment’s broad

protections for the dissemination of lawfully obtained, truthful information do not

disappear merely because the government permits a speaker to “publish the same

information in another form.” If the government could evade its First Amendment

obligations in this way, then it could suppress the spread of unfavorable news simply

by requiring that it be published only in an obscure format.             Nothing in First

Amendment jurisprudence contemplates such a result.

       Second, an audio or video recording of a court proceeding does not contain “the

same information” as a written transcript. Among other differences, recordings capture

the human aspects of a proceeding—a judge’s tone, a witness’s hesitation, or a lawyer’s

inflection—that cannot be documented as effectively in written form. Recordings are

also more accessible to many people, particularly those with limited literacy skills, and

are free from transcription inaccuracies.         Indeed, the shortcomings of written

transcripts are so well known that they form the basis for entire doctrines of trial-court

deference. See, e.g., Skilling v. United States, 561 U.S. 358, 386-87 (2010) (“In contrast to

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the cold transcript received by the appellate court, the in-the-moment voir dire affords

the trial court a more intimate and immediate basis for assessing a venire member’s

fitness for jury service.”).

       Defendants also argue that Daily Mail and its progeny are “inapplicable because

they apply to ‘punishments’ in the form of criminal prosecution.” MTD 24 (no citation

in original). But many (if not most) of the key cases applying the Daily Mail framework

involved efforts to deter speech by imposing civil liability—not criminal punishment.

See, e.g., Bartnicki, 532 U.S. at 519 (civil liability under federal wiretapping law); Florida

Star, 491 U.S. at 528 (civil liability under Florida tort law); Cox Broadcasting, 420 U.S. at

474 (civil liability under Georgia tort law); Ostergren, 615 F.3d at 269 (civil penalties under

Virginia information-privacy law). And even if these cases applied exclusively to

criminal sanctions, they would still govern here in light of Defendants’ conspicuous

refusal to disavow enforcement of § 1-201 through criminal contempt.

   III.     Plaintiffs have stated a valid void-for-vagueness claim.

       Section 1-201 also violates due process because it fails to specify what activities

qualify as “broadcast[ing]” under the statute.

       A.      Section 1-201 is subject to exacting vagueness scrutiny.

       An enactment is unconstitutionally vague if it “fails to provide any standard of

conduct by which persons can determine whether they are violating the statute,” or if

it “does not provide ‘minimal guidelines to govern law enforcement.’ ” Manning v.

Caldwell, No. 17-1320, 2019 WL 3139408, at *6 (4th Cir. July 16, 2019) (en banc)

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(citation omitted). Laws need not be drafted with “celestial precision,” of course. Hart

Book Stores, Inc. v. Edmisten, 612 F.2d 821, 833 (4th Cir. 1979). But they must be clear

enough to satisfy the core demand of due process: ensuring that people can “steer

between lawful and unlawful conduct.” Village of Hoffman Estates v. Flipside, Hoffman

Estates, Inc., 455 U.S. 489, 498 (1982) (citation omitted).

       Critically, “a more stringent vagueness test should apply” to laws that “threaten[ ]

to inhibit the exercise of . . . free speech.” Hoffman Estates, 455 U.S. at 499. As explained

above, § 1-201 has inhibited expression in Maryland for decades—and its uncertain

reach has chilled these very Plaintiffs from using lawfully obtained recordings to speak

on matters of public concern. Accordingly, Maryland may “regulate in th[is] area only

with narrow specificity.” Gooding v. Wilson, 405 U.S. 518, 522 (1972) (citation omitted).

       In fact, this Court must scrutinize § 1-201 doubly stringently, for a “stricter

standard” also applies “if criminal penalties may be imposed” upon violators. Manning,

2019 WL 3139408, at *5 (citing Hoffman Estates, 455 U.S. at 498-99). Defendants openly

admit that “a full range of sanctions, including incarceration,” may be imposed in both

civil and criminal contempt proceedings to enforce § 1-201. MTD 33 (emphasis added).

Because the potential “consequences” are equally “severe” in either context, Hoffman

Estates, 455 U.S. at 499, this Court must apply the stricter standard in evaluating § 1-

201.




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      B.      The term “broadcast” is not defined in § 1-201 and prescribes no
              objective standard of conduct.

      Section 1-201(a)(1) prohibits the act of “broadcast[ing]” any criminal matter held

in a trial court or before a grand jury. But the statute leaves the term “broadcast” wholly

undefined. Accordingly, members of the press and the public must consult dictionaries

and case law to find a “principled standard” to govern their conduct under § 1-201. Doe

v. Cooper, 842 F.3d 833, 843 (4th Cir. 2016). Those sources, however, do little to clarify

whether Plaintiffs’ intended conduct constitutes “broadcasting.”

      There is no dispute that the term “broadcast” can mean “[t]o disseminate [audio

or audio-visual content] from a radio or television transmitting station to the receiving

sets of listeners and viewers.” OXFORD ENGLISH DICTIONARY, https://oed.com/

view/Entry/23508 (last accessed July 31, 2019). Several courts have endorsed this

uncontroversial definition. See, e.g., Dish Network Corp. v. Arrowood Indem. Co., 772 F.3d

856, 871 (10th Cir. 2014); Dubinsky v. Liberty Surplus Ins. Corp., No. CV 08-06744, 2010

WL 11506086, at *13 (C.D. Cal. June 15, 2010); WTAR Radio-TV Corp. v. Commonwealth,

217 Va. 877, 881 (1977). But this definition offers little guidance to Plaintiffs, who

primarily intend to transmit court recordings through means other than television or

radio. See Compl. ¶¶ 21-23 (explaining that Plaintiffs seek, inter alia, to play recordings

at community meetings, share them via social media, and post them online).

       The other plausible dictionary definition—“[t]o scatter or disseminate widely,”

OXFORD ENGLISH DICTIONARY—likewise fails to offer useful direction here. While


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some courts have endorsed this definition outside of the vagueness context, none has

had occasion to define (even loosely) the outer limits of this definition. See Norman v.

Century Athletic Club, 193 Md. 584, 590 (1949) (reciting this definition). Nor has any

court sought to define how widely a dissemination must extend to constitute

broadcasting. Just last year, the Fourth Circuit underscored the emptiness of this

concept in evaluating a gag order that barred litigants from commenting on a pending

case to “public communications media.” In re Murphy Brown, 907 F.3d 788, 800 (4th

Cir. 2018).   The court queried: “When and how are social media posts ‘public

communications media?’ Does it turn on whether a post is public or private, on the

account’s number of followers, or on whether a reporter is among those followers?”

Id. The court held that the gag order was impermissibly vague because it “d[id] not

provide an answer” to those questions. Id.

      Section 1-201 similarly fails to “provide an answer” to questions about how

widely a court recording must be disseminated to qualify as “broadcast[ing].” Would

playing a recording at a private meeting of a dozen people qualify? Would playing one

at a public gathering of five hundred people? Could a journalist embed a recording in

an online article subject to a paywall? Could a university student upload one to a shared

internet folder accessible only to other students at the same university? There is simply

no “ascertainable standard for inclusion and exclusion” within the term “broadcasting.”

Smith v. Goguen, 415 U.S. 566, 578 (1974).

      No limiting construction has resolved this critical uncertainty. Section 1-201,

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after all, has never been judicially construed. And when Maryland courts have employed

the term “broadcast,” they have typically done so in its “general figurative” sense,

Norman, 193 Md. at 590, rather than to refine its meaning in specific regulatory contexts.

See id. (“It may often have been said, with reference to telegraph or newspapers, that

news, gossip, a baseball game or a prize-fight was broadcasted, or with reference to a

loudspeaker or amplifier, that a speech was broadcasted.”).6 Maryland courts have even

used the term in reference to intentionally limited disseminations. See, e.g., Roberts v. State,

298 Md. 261, 267 (1983) (“This description was broadcast over police radio.”); Case v.

State, No. 117053003, 2019 WL 1579778, at *7 (Md. Ct. Spec. App. Apr. 12, 2019)

(certain footage was “broadcast[ ] on . . . closed-circuit televisions”).

       As a result, journalists and other citizens cannot know what § 1-201’s open-

ended ban on “broadcast[ing]” encompasses. Defendants’ analogy to Federal Rule of

Criminal Procedure 53 (MTD 27, 31) sheds little light here, for that rule prohibits only

“broadcast[s]” that occur “from the courtroom” (emphasis added). And even if § 1-201

had one or more clearly constitutional applications, “th[at] fact . . . cannot save it.” Doe,



       6
          For additional uses of “broadcast” in this sense, see, e.g., Georgia Pac. v. Farrar,
432 Md. 523, 537 (2013) (a scientific breakthrough was “widely broadcast”); Wright v.
State, 411 Md. 503, 514 (2009) (questions were “broadcast” to potential jurors); Murphy
v. Baltimore Gas & Elec. Co., 290 Md. 186, 191 (1981) (a legal proposition had “frequently
been broadcast by this Court”); Norvell v. Safeway Stores, 212 Md. 14, 21 (1957) (a letter-
writer “broadcast[ ] . . . charges of dishonest practices” to various recipients); Henson v.
State, 212 Md. App. 314, 321 (Ct. Spec. App. 2013) (a robocall was “broadcast” to
multiple phone numbers); Wong-Wing v. State, 156 Md. App. 597, 610 (Ct. Spec. App.
2004) (an answering machine “broadcast aloud” messages it received).

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842 F.3d at 843 (citing Johnson v. United States, 135 S. Ct. 2551, 2560-61 (2015)).7

       Ordinarily, regulated parties can “seek clarification from appropriate

administrative sources.” Greenville Women’s Clinic v. Comm’r, 317 F.3d 357, 367 (4th Cir.

2002); see also U.S. Civil Serv. Comm’n v. Nat’l Ass’n of Letter Carriers, 413 U.S. 548, 580

(1973). But Plaintiffs were not so fortunate. Each of their inquiries was rebuffed, even

though Judge Pierson has repeatedly warned other journalists that particular courses of

action would, in his view, amount to “broadcast[ing]” under § 1-201. Compl. ¶ 26. This

suit is thus Plaintiffs’ sole remaining recourse, for “[s]peakers deserve to know” what

they must do to avoid imprisonment. In re Murphy-Brown, 907 F.3d at 800.

       C.      Section 1-201’s remaining language fails to clarify the meaning of
              “broadcast.”

       Nor can the broadcasting ban’s history and surrounding context clarify its

otherwise abstract outlines. Section 1-201 contains neither a scienter requirement nor

any “limiting context,” Norman, 193 Md. at 590, to guide its enforcement against

persons who transmit court recordings through means other than television and radio.

       If anything, § 1-201’s enactment history introduces further confusion, for it

suggests that uses of court-created recordings simply do not implicate the ban. From the

very beginning, the ban’s stated purpose was to “prohibit[ ] the recording or



       7
          Defendants focus on the wrong question by asking whether § 1-201 is
“impermissibly vague in all of its reasonable applications.” MTD 26. The pertinent
question, as both the Fourth Circuit and the Supreme Court have made clear, is simply
whether a prohibition “specifies no standard” at all. Doe, 842 F.3d at 843.

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broadcasting, by the use of certain equipment, of [criminal] trial court proceedings.” 1981

Md. Laws ch. 748, at 2782 (emphasis added). The 1981 law prohibited “extended

coverage” of those proceedings, which it defined as “any recording or broadcasting . . .

by the use of television, radio, photographic, or recording equipment.” Id. at 2783.8 As

Defendants note, the broadcasting ban was “modified without substantive change” in

2001 and “has not been amended since.” MTD 4. Accordingly, § 1-201 states explicitly

that its “prohibition applies to the use of television, radio, and photographic and

recording equipment.” Md. Code, Crim. Proc. § 1-201 (a)(2); see also id., Revisor’s Note

(“The scope of this section is limited to media coverage of criminal proceedings.”).

       Put differently, if the dissemination of court-created recordings somehow falls

within § 1-201’s scope, it will not have occurred through “legislative judgment.” Coates

v. City of Cincinnati, 402 U.S. 611, 613 (1971) (citation omitted). It is unsurprising that

Defendants have failed to identify any “objectively discernable standards” for imposing

liability in these circumstances, Manning, 2019 WL 3139408, at *9, given that § 1-201

(and its predecessor) sought to regulate a different type of behavior.

       In fact, Defendants’ own examples reveal the sheer unworkability of a ban on

the dissemination of public court records. Defendants insist that § 1-201 would permit



       8
         The Maryland Rules’ provision for “extended coverage” in civil proceedings is
likewise concerned only with “recording” and “broadcasting” by nonjudicial actors who
use their own equipment. See Md. Rule 16-601(a) (“ ‘Extended coverage’ means the
recording or broadcasting of court proceedings by the use of recording, photographic,
television, radio, or other broadcasting equipment . . . .”).

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Plaintiffs to “read back [official] transcripts” or “reenact court proceedings.” MTD 23.

Yet it is unclear why these performances—if transmitted over television or radio—

would not constitute “broadcast[ing] any criminal matter.” At least one federal court

has held Rule 53’s “broadcasting” ban to include “sending electronic messages” that

describe judicial proceedings, because those messages “make widely known the trial

proceedings.” United States v. Shelnutt, No. 4:09-CR-14, 2009 WL 3681827, at *1 (M.D.

Ga. Nov. 2, 2009). That would be even more true of dramatic reenactments—especially

ones that widely publicize the contents of official court transcripts.

   IV.     Plaintiffs have not failed to name any indispensable defendants.

       Defendants insist that this suit cannot proceed because Plaintiffs did not sue the

criminal defendants in the various cases for which they obtained recordings. According

to Defendants, the parties in those cases have “unique interests” in this matter that

make them required parties under Federal Rule of Civil Procedure 19(a)(1). MTD 15.

       Dismissal under Rule 19 is a “drastic remedy” that “should be employed only

sparingly.” Home Buyers Warranty Corp. v. Hanna, 750 F.3d 427, 433 (4th Cir. 2014)

(citation omitted); see also Owens-Illinois, Inc. v. Meade, 186 F.3d 435, 441 (4th Cir. 1999)

(“Courts are loath to dismiss cases based on nonjoinder of a party[.]”). The burden of

satisfying each element of Rule 19 “rests on the party raising the defense.” American

Gen. Life & Accident Ins. Co. v. Wood, 429 F.3d 83, 92 (4th Cir. 2005). Here, Defendants

cannot satisfy their burden under Rule 19 because their argument rests on a mistaken

understanding of the law and a speculative view of the facts.

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       First, as a legal matter, Defendants’ contention that certain defendants have

“unique [privacy] interests” to vindicate is unpersuasive. MTD 16. The privacy

interests of criminal defendants cannot justify restricting the dissemination of

information about criminal trials any more than they would justify closing the

courtroom during the trials themselves. See U.S. Const. amend. VI (guaranteeing a right

to a “public trial” (emphasis added)). Moreover, if criminal defendants had a cognizable

privacy interest in this context, it would mean that countless judicial decisions—

including Daily Mail, Cox Broadcasting, Florida Star, and others—were rendered in the

absence of necessary parties. Similarly, if Defendants’ theory were correct, then the

plaintiff in Ostergren would have needed to sue thousands of her fellow Virginians—

everyone whose social-security numbers had been disclosed—before challenging the

restrictions on her own speech. Defendants have cited no authority to support such an

expansive and novel reading of Rule 19.

       Defendants’ concern for the privacy interests of criminal defendants rings hollow

for yet another reason: it was Defendants themselves who provided Plaintiffs with the

recordings of the criminal defendants’ cases. As noted above, Maryland law contains

ample mechanisms to ensure that releasing recordings of criminal proceedings will not

impair any residual privacy interests. See supra Part II.C (discussing Md. Rule 16-504(g)).

Defendants chose not to invoke those mechanisms here and, even now, continue to

make the same recordings Plaintiffs purchased available for public viewing and

listening.   Defendants cannot obtain a Rule 19 dismissal—an exceedingly rare

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occurrence—by relying on alleged privacy concerns that they themselves disregarded.

        Finally, even if Defendants’ legal theory under Rule 19 had merit—which it does

not—dismissal would still be improper. Defendants speculate that numerous criminal

defendants would wish to be sued in order to assert any interest they “may have” in

§ 1-201’s enforceability. MTD 15. But Defendants have not offered any evidence to

support that highly counterintuitive belief. Accordingly, there is no basis to conclude

that “prejudice . . . will certainly result” if absent third parties remain absent from this

case. Owens-Illinois, 186 F.3d at 441.

   V.      Plaintiffs have stated valid claims against the court reporters.

        Plaintiffs allege that the court reporters for Baltimore City and Prince George’s

County serve as the authorized custodians of court recordings in those jurisdictions and

“share[ ] responsibility for enforcing § 1-201’s broadcasting ban.” Compl. ¶¶ 19, 34-35.

Their complaint further alleges that, “[i]n practice, court reporters view the enforcement

of § 1-201 as one of their responsibilities and typically play a role in deciding how court

officials will respond to violations of the statute.” Compl. ¶ 19; see also MTD 32

(highlighting reference to § 1-201 on official court reporter form).

        Defendants now contend that the court reporters should be dismissed because

they “have nothing to do with initiating contempt proceedings.” MTD 14. That

assertion, however, amounts to little more than a denial of Plaintiffs’ factual allegations,

which is not a proper basis for dismissal under Rule 12(b)(6). If Defendants wish to



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argue that court reporters play no role in enforcing § 1-201, they are free to submit

sworn evidence to that effect at summary judgment.

        To the extent Defendants are arguing that the court reporters play no role in the

contempt process as a legal matter, that argument also fails. Maryland Rule 15-205

explicitly authorizes “any person with actual knowledge of the facts constituting a

constructive criminal contempt” to ask prosecutors to file a contempt petition. See Md.

Rule 15-205(b)(5).          As the custodians of court recordings for their respective

jurisdictions, court reporters frequently have direct knowledge of § 1-201 violations

involving those recordings. See Compl. ¶¶ 19, 34-35; see also MTD Ex. 4 (recording-

request forms submitted to the court reporter’s office). Their active involvement in

identifying violations of the statute and making enforcement decisions under it suffices

to support a claim for declaratory relief against them.

                                      CONCLUSION

        For the foregoing reasons, Defendants’ motion to dismiss should be denied.

                                                  Respectfully submitted,
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                           CERTIFICATE OF SERVICE

       I hereby certify that on August 2, 2019, I electronically filed the foregoing brief

with the U.S. District Court for the District of Maryland by using the Court’s

CM/ECF system. Participants in the case are registered CM/ECF users, and service

will be accomplished by the Court’s CM/ECF system. A courtesy paper copy of the

brief will also be filed with the Clerk of the Court within two business days of

electronic filing.



                                                  /s/ Nicolas Y. Riley
                                                 NICOLAS Y. RILEY




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